Case 2:15-cr-00053-RAJ   Document 178   Filed 10/02/15   Page 1 of 6
Case 2:15-cr-00053-RAJ   Document 178   Filed 10/02/15   Page 2 of 6
Case 2:15-cr-00053-RAJ   Document 178   Filed 10/02/15   Page 3 of 6
Case 2:15-cr-00053-RAJ   Document 178   Filed 10/02/15   Page 4 of 6
Case 2:15-cr-00053-RAJ   Document 178   Filed 10/02/15   Page 5 of 6
Case 2:15-cr-00053-RAJ   Document 178   Filed 10/02/15   Page 6 of 6
